  Case 1:14-cv-01051-SOH Document 3         Filed 09/26/14 Page 1 of 41 PageID #: 603




           IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                ~     DIVISION


Eddie B. Robinson, as Administrator for
The Estate of Willie Robinson, Sr., deceased

                    PLAINTIFF

vs.                                                         NO. CV- .1 t? I 3, J,oo-   6
EOR-ARK, LLC; VAJ LLC; Senior Living Communities
of Arkansas, LLC; SLC Operations Holdings, LLC; SLC
Operations, LLC; Pine Hills Holdings, LLC; Pine Hills
Health and Rehabilitation, LLC, d/b/a Pine Hills Health
and Rehabilitation; SLC Operations Master Tenant, LLC;
SLC Properties, LLC; SLC Property Holdings, LLC; SLC
Property Investors, LLC; Arkansas Nursing Home
Acquisition, LLC ; CSCV Holdings, LLC; Capital Funding
Group, Inc.; Capital Funding, LLC; Capital Finance, LLC;
Capital SeniorCare Ventures, LLC; ADDIT, LLC ; SLC
Professionals of Arkansas, LLC, n/k/a SLC Professionals,
                                                                                       ,-
LLC; Senior Vantage Point, LLC; 900 Magnolia Road SW,
LLC; Quality Review, LLC; Arkansas SNF Operations
                                                                                       r
Acquisition, LLC; SLC Professionals Holdings, LLC; SLC
                                                                                       rn
Administrative Services of Arkansas, LLC; John Dwyer;                                  0
and Michael G. Hunter, Administrator,

                    DEFENDANTS


                                    COMPLAINT

      Comes now Plaintiff, Eddie B. Robinson, as Administrator for The Estate of Willie

Robinson, Sr., deceased, and for his cause of action against Defendants, EOR-ARK,

LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC ; SLC Operations Holdings,

LLC; SLC Operations, LLC; Pine Hills Holdings, LLC; Pine Hills Health and

Rehabilitation, LLC, d/b/a Pine Hills Health and Rehabilitation; SLC Operations Master

Tenant, LLC; SLC Properties, LLC; SLC Property Holdings, LLC; SLC Property

Investors, LLC; Arkansas Nursing Home Acquisition, LLC; CSCV Holdings, LLC; Capital
 Case 1:14-cv-01051-SOH Document 3          Filed 09/26/14 Page 2 of 41 PageID #: 604




Funding Group, Inc. ; Capital Funding, LLC; Capital Finance, LLC; Capital SeniorCare

Ventures, LLC; ADDIT, LLC; SLC Professionals of Arkansas, LLC, n/kla SLC

Professionals, LLC ; Senior Vantage Point, LLC; 900 Magnolia Road SW, LLC; Quality

Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals Holdings,

LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G.

Hunter, Administrator

                            JURISDICTIONAL STATEMENT

       1.   Eddie B. Robinson was appointed as Administrator for The Estate of Willie

Robinson, Sr., deceased, pursuant to the Letters of Administration attached hereto as

Exhibit A, and therefore brings this action on behalf of The Estate of Willie Robinson,

Sr., deceased, and on behalf of the wrongful death beneficiaries of Willie Robinson, Sr.,

pursuant to the Arkansas Survival of Actions Statute (Ark. Code Ann. § 16-62-101) and

the Arkansas Wrongful Death Act (Ark. Code Ann. § 16-62-1 02). Eddie B. Robinson

brings this action against Defendants claiming damages on behalf of Willie Robinson,

Sr. stemming from the injuries and death he endured while a resident at Pine Hills

Health and Rehabilitation Center.

      2.    Eddie B. Robinson is a son of Willie Robinson, Sr., and is a resident of

Kokomo, Indiana.

      3.    Upon information and belief, Willie Robinson, Sr. was admitted as a resident

of Pine Hills Health and Rehabilitation Center located at 900 Magnolia Road, Camden,

Arkansas 71701, on April 26, 2010 and, except for hospitalizations, he remained a

resident until October 7, 2011. Willie Robinson, Sr. died on October 7, 2011.

      4.    Whenever the term "Nursing Home Defendants" is utilized within this suit,

such term collectively refers to and includes EOR-ARK, LLC; VAJ LLC; Senior Living

                                            2
 Case 1:14-cv-01051-SOH Document 3            Filed 09/26/14 Page 3 of 41 PageID #: 605




 Communities of Arkansas, LLC; SLC Operations Holdings, LLC; SLC Operations, LLC;

 Pine Hills Holdings, LLC; Pine Hills Health and Rehabilitation, LLC, d/b/a Pine Hills

 Health and Rehabilitation; SLC Operations Master Tenant, LLC; SLC Properties, LLC ;

 SLC Property Holdings, LLC; SLC Property Investors, LLC ; Arkansas Nursing Home

Acquisition, LLC ; CSCV Holdings, LLC ; Capital Funding Group, Inc.; Capital Funding ,

LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC; ADDIT, LLC; SLC

Professionals of Arkansas, LLC, n/k/a SLC Professionals, LLC ; Senior Vantage Point,

LLC; 900 Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations

Acquisition , LLC; SLC Professionals Holdings, LLC; SLC Administrative Services of

Arkansas, LLC; and John Dwyer.

       5.   Whenever the term "Administrator Defendant" is utilized within this suit, such

term collectively refers to and includes Michael G. Hunter.

       6.   Whenever the term "Defendants" is utilized within this suit, such term

collectively refers to and includes all named Defendants in this lawsuit.

       7.   Pine Hills Health and Rehabilitation Center was owned, operated and/or

managed by Defendants.

       8.   Defendant EOR-ARK,       LLC,    a Delaware limited liability company,        is

authorized to do business in the State of Arkansas and is engaged in the business of

for-profit custodial care of elderly and infirm nursing home residents in nursing facilities

in several states across the United States.       Upon information and belief, at times

material to this action, Defendant EOR-ARK, LLC owned, operated, managed,

controlled and/or provided services for nursing facilities, including Pine Hills Health and

Rehabilitation Center during the residency of Willie Robinson , Sr. The registered agent




                                             3
 Case 1:14-cv-01051-SOH Document 3            Filed 09/26/14 Page 4 of 41 PageID #: 606




 for service of process of Defendant EOR-ARK, LLC is Corporation Service Company,

2711 Centerville Road, Suite 400, Wilmington, Delaware 19808.

       9.   Defendant VAJ, LLC, an Indiana limited liability company, is authorized to do

business in the State of Arkansas and is engaged in the business of for-profit custodial

care of elderly and infirm nursing home residents . Upon information and belief, at times

material to this action, Defendant VAJ , LLC owned , operated , managed , controlled

and/or provided    services for nursing facilities , including      Pine   Hills Health   &

Rehabilitation Center during the residency of Willie Robinson , Sr. The registered agent

for service of process of Defendant VAJ , LLC is Corporation Service Company, 251

East Ohio Street, Suite 500, Indianapolis, Indiana 46204.

       10. Defendant Senior Living Communities of Arkansas, LLC, a Delaware limited

liability company, is authorized to do business in the State of Arkansas and is engaged

in the business of for-profit custodial care of elderly and infirm nursing home residents in

nursing facilities in several states across the United States.      Upon information and

belief, at times material to this action , Defendant Senior Living Communities of

Arkansas, LLC owned, operated, managed, controlled and/or provided services for

nursing facilities, including Pine Hills Health and Rehabilitation Center during the

residency of Willie Robinson, Sr. The registered agent for service of process of

Defendant Senior Living Communities of Arkansas, LLC is Corporation Service

Company, 2711 Centerville Road, Suite 400, Wilmington , Delaware 19808.

      11. Defendant SLC Operations Holdings, LLC, a Delaware limited liability

company, is authorized to do business in the State of Arkansas and is engaged in the

business of for-profit custodial care of elderly and infirm nursing home residents in

nursing facilities in several states across the United States.      Upon information and


                                             4
  Case 1:14-cv-01051-SOH Document 3              Filed 09/26/14 Page 5 of 41 PageID #: 607




 belief, at times material to this action, Defendant SLC Operations Holdings, LLC owned,

 operated, managed, controlled and/or provided services for nursing facilities, including

 Pine Hills Health and Rehabilitation Center during the residency of Willie Robinson, Sr.

The registered agent for service of process of Defendant SLC Operations Holdings, LLC

is Corporation Service Company, 2711 Centerville Road, Suite 400, Wilmington ,

Delaware 19808.

         12. Defendant SLC Operations, LLC is a foreign limited liability company that at

times material to this lawsuit owned, operated, managed, controlled and/or provided

services to Pine Hills Health and Rehabilitation, LLC. The causes of action made the

basis of this suit arise out of Defendant SLC Operations, LLC's ownership, operation,

management, control and/or services provided for the facility during the residency of

Willie Robinson, Sr. The registered agent for service of process of Defendant SLC

Operations, LLC is Corporation Service Company, 2711 Centerville Road, Suite 400,

Wilmington, Delaware 19808.

         13. Defendant Pine Hills Holdings, LLC, a Delaware limited liability company, is

authorized to do business in the State of Arkansas and is engaged in the business of

for-profit custodial care of elderly and infirm nursing home residents. Upon information

and belief, at times material to this action, Defendant Pine Hills Holdings, LLC owned,

operated, managed, controlled and/or provided services for nursing facilities, including

Pine Hills Health & Rehabilitation Center during the residency of Willie Robinson, Sr.

The registered agent for service of process of Defendant Pine Hills Holdings, LLC is

Corporation Service Company, 2711 Centerville Road, Suite 400, Wilmington, Delaware

19808.




                                             5
  Case 1:14-cv-01051-SOH Document 3             Filed 09/26/14 Page 6 of 41 PageID #: 608




          14. Defendant, Pine Hills Health and Rehabilitation, LLC, operating under the

 fictitious name of Pine Hills Health and Rehabilitation Center, is an Arkansas limited

 liability company, with its principal office located at 900 Magnolia Road, Camden,

Arkansas 71701. Pine Hills Health and Rehabilitation, LLC d/b/a Pine Hills Health and

Rehabilitation Center is authorized to do business in the State of Arkansas and is

engaged in the for-profit custodial care of elderly individuals who are chronically infirm,

mentally impaired and/or in need of nursing care and treatment. Upon information and

belief, at times material to this action, Defendant Pine Hills Health and Rehabilitation , -

LLC was the "licensee" of Pine Hills Health and Rehabilitation Center which was located

at 900 Magnolia Road , Camden, Arkansas 71701. The causes of action made the basis

of this suit arise out of such business conducted by said Defendant in the ownership,

operation, management, licensing and/or control of Pine Hills Health and Rehabilitation

Center during the residency of Willie Robinson , Sr. The registered agent for service of

process of Defendant Pine Hills Health and Rehabilitation, LLC is Corporation Service

Company, 300 Spring Building, Suite 900 , 300 S. Spring Street, Little Rock, Arkansas

72201 .

      15. Defendant SLC Operations Master Tenant, LLC, a Delaware limited liability

company, is authorized to do business in the State of Arkansas and is engaged in the

business of for-profit custodial care of elderly and infirm nursing home residents in

nursing facilities in several states across the United States.     Upon information and

belief, at times material to this action , Defendant SLC Operations Master Tenant, LLC

owned, operated, managed, controlled and/or provided services for nursing facilities,

including Pine Hills Health and Rehabilitation Center during the residency of Willie

Robinson, Sr. The registered agent for service of process of Defendant SLC Operations


                                            6
  Case 1:14-cv-01051-SOH Document 3              Filed 09/26/14 Page 7 of 41 PageID #: 609




 Master Tenant, LLC is HIQ Corporate Services, Inc., 300 South Spring Street, Suite

 900, Little Rock, Arkansas 72201 .

         16. Defendant SLC Properties, LLC, a Delaware limited liability company, is

 authorized to do business in the State of Arkansas and is engaged in the business of

for-profit custodial care of elderly and infirm nursing home residents in nursing facilities

in several states across the United States.         Upon information and belief, at times

material to this action, Defendant SLC Properties, LLC owned, operated, managed,

controlled and/or provided services for nursing facilities, including Pine Hills Health ·and

Rehabilitation Center during the residency of Willie Robinson, Sr. The registered agent

for service of process of Defendant SLC Properties, LLC is Corporation Service

Company, 2711 Centerville Road, Suite 400, Wilmington, Delaware 19808.

         17. Defendant SLC Property Holdings, LLC,           a Delaware limited liability

company, is authorized to do business in the State of Arkansas and is engaged in the

business of for-profit custodial care of elderly and infirm nursing home residents in

nursing facilities in several states across the United States.      Upon information and

belief, at times material to this action, Defendant SLC Property Holdings, LLC owned ,

operated, managed, controlled and/or provided services for nursing facilities, including

Pine Hills Health and Rehabilitation Center during the residency of Willie Robinson, Sr.

The registered agent for service of process of Defendant SLC Property Holdings, LLC is

Corporation Service Company, 2711 Centerville Road, Suite 400, Wilmington, Delaware

19808.

         18. Defendant SLC Property Investors, LLC, a Delaware limited liability

company, is authorized to do business in the State of Arkansas and is engaged in the

business of for-profit custodial care of elderly and infirm nursing home residents in


                                             7
 Case 1:14-cv-01051-SOH Document 3          Filed 09/26/14 Page 8 of 41 PageID #: 610




 nursing facilities in several states across the United States.   Upon information and

 belief, at times material to this action , Defendant SLC Property Investors, LLC owned ,

operated , managed, controlled and/or provided services for nursing facilities, including

Pine Hills Health and Rehabilitation Center during the residency of Willie Robinson , Sr.

The registered agent for service of process of Defendant SLC Property Investors, LLC

is The Corporation Trust Company, 1209 Orange Street, Wilmington , Delaware 19801.

       19. Defendant Arkansas Nursing Home Acquisition , LLC is a foreign limited

liability company that at times material to this lawsuit owned , operated , managed,

controlled and/or provided services to Pine Hills Health and Rehabilitation, LLC . The

causes of action made the basis of this suit arise out of such business conducted by

Defendant Arkansas Nursing Home Acquisition, LLC during the residency of Willie

Robinson, Sr. The registered agent for service of process of Defendant Arkansas

Nursing Home Acquisition, LLC is Gentry Locke Rakes and Moore LLP, 10 Franklin

Road, SE, Suite 800 SunTrust Plaza , P.O. Box 40013 , Roanoke, Virginia 24022.

      20 . Defendant CSCV Holdings, LLC is a foreign limited liability company that at

times material to this lawsuit owned , operated, managed , controlled and/or provided

services to Pine Hills Health and Rehabilitation , LLC. The causes of action made the

basis of this suit arise out of such business conducted by Defendant CSCV Holdings,

LLC during the residency of W illie Robinson, Sr. The registered agent for service of

process of Defendant CSCV Holdings, LLC is HIQ Maryland Corporation , 715 St. Paul

Street, Baltimore, Maryland 21202.

      21. Defendant Capital Funding Group, Inc., a Maryland corporation with its

principal office at 1422A Clarkview Road , Baltimore, Maryland 21209 , is authorized to

do business in the State of Arkansas and is engaged in the business of for-profit


                                           8
 Case 1:14-cv-01051-SOH Document 3             Filed 09/26/14 Page 9 of 41 PageID #: 611




 custodial care of elderly and infirm nursing home residents in nursing facilities in several

 states across the United States. Upon information and belief, at times material to this

 action, Defendant Capital Funding Group, Inc. owned, operated , managed , controlled

and/or provided services for nursing facilities , including Pine Hills Health and

Rehabilitation Center during the residency of Willie Robinson , Sr. The registered agent

for service of process of Defendant Capital Funding Group, Inc. is HIQ Maryland

Corporation, 715 St. Paul Street, Baltimore, Maryland 21202 .

          22 . Defendant Capital Funding , LLC, a Maryland limited liability company with its

principal office at 1422 Clarkview Road, Suite 500, Baltimore, Maryland 21209, is

authorized to do business in the State of Arkansas and is engaged in the business of

for-profit custodial care of elderly and infirm nursing home residents in nursing facilities

in several states across the United States.         Upon information and belief, at times

material to this action, Defendant Capital Funding , LLC owned , operated , managed ,

controlled and/or provided services for nursing facilities, including Pine Hills Health and

Rehabilitation Center during the residency of Willie Robinson, Sr. The registered agent

for service of process of Defendant Capital Funding, LLC is HIQ Maryland Corporation ,

715 St. Paul Street, Baltimore, Maryland 21202.

       23. Defendant Capital Finance, LLC is a foreign limited liability company with its

principal office at 1422A Clarkview Road, Baltimore, Maryland 21209. The registered

agent for service of process of Defendant Capital Finance, LLC is HIQ Maryland

Corporation , HIQ Corporate Services, Inc., 715 St. Paul Street, Baltimore, Maryland

21202 .

      24. Defendant Capital SeniorCare Ventures, LLC , a foreign limited liability

company that at times material to this lawsuit, owned , operated, managed , controlled


                                               9
 Case 1:14-cv-01051-SOH Document 3           Filed 09/26/14 Page 10 of 41 PageID #: 612




 and/or provided services for Pine Hills Health and Rehabilitation , LLC . The causes of

 action made the basis of this suit arise out of such business conducted by Defendant

 Capital SeniorCare Ventures, LLC in the operation, management, control and/or

 services provided to Pine Hills Health and Rehabilitation, LLC during the residency of

 Willie Robinson , Sr. The registered agent for service of process of Defendant Capital

SeniorCare Ventures, LLC is HIQ Corporate Services, Inc., 3500 South Dupont

Highway, Dover, Delaware 19901.

       25. Defendant ADDIT, LLC , an Indiana limited liability company with its principal

office located at 9785 Crosspoint Boulevard , Suite 110, Indianapolis, Indiana 46256, is

authorized to do business in the State of Arkansas and is engaged in the business of

for-profit custodial care of elderly and infirm nursing home residents in nursing facilities

in several states across the United States.       Upon information and belief, at times

material to this action, Defendant ADDIT, LLC owned, operated , managed, controlled

and/or provided services for nursing facilities, including Pine Hills Health and

Rehabilitation Center during the residency of Willie Robinson, Sr. The registered agent

for service of process of Defendant ADDIT, LLC is HIQ Corporate Services, Inc., 5217

Palisade Court, First Floor, Indianapolis, Indiana 46237.

       26. Defendant SLC Professionals of Arkansas, LLC, n/k/a SLC Professionals,

LLC, an Arkansas limited liability company, is authorized to do business in the State of

Arkansas and is engaged in the business of for-profit custodial care of elderly and infirm

nursing home residents in nursing facilities in several states across the United States.

Upon information and belief, at times material to this action , Defendant SLC

Professionals of Arkansas, LLC , n/k/a SLC Professionals, LLC owned , operated ,

managed , controlled and/or provided services for nursing facilities , including Pine Hills


                                            10
Case 1:14-cv-01051-SOH Document 3           Filed 09/26/14 Page 11 of 41 PageID #: 613




 Health and Rehabilitation Center during the residency of Willie Robinson , Sr. The

 registered agent for service of process of Defendant SLC Professionals of Arkansas,

 LLC , n/k/a SLC Professionals, LLC is HIQ Corporate Services, Inc., 300 South Spring

 Street, Suite 900, Little Rock, Arkansas 72201 .

         27. Defendant Senior Vantage Point, LLC, an Indiana limited liability company, is

authorized to do business in the State of Arkansas and is engaged in the business of

for-profit custodial care of elderly and infirm nursing home residents in nursing facilities

in several states across the United States.         Upon information and belief, at times

material to this action, Defendant Senior Vantage Point, LLC owned , operated,

managed, controlled and/or provided services for nursing facilities , includ ing Pine Hills

Health and Rehabilitation Center during the residency of Willie Robinson, Sr. The

registered agent for service of process of Defendant Senior Vantage Point, LLC is

Corporation Service Company, 251 East Ohio Street, Suite 500, Indianapolis, Indiana

46204.

       28. Defendant 900 Magnolia Road SW, LLC, an Arkansas limited liability

company, is authorized to do business in the State of Arkansas and is engaged in the

business of for-profit custodial care of elderly and infirm nursing home residents in

nursing facilities in several states across the United States.      Upon information and

belief, at times material to this action, Defendant 900 Magnolia Road SW, LLC owned ,

operated, managed, controlled and/or provided services for nursing facilities , including

Pine Hills Health and Rehabilitation Center during the residency of Willie Robinson , Sr.

The registered agent for service of process of Defendant 900 Magnolia Road SW, LLC

is The Corporation Company, 124 West Capitol Avenue, Suite 1900, Little Rock,

Arkansas 72201 .


                                            11
 Case 1:14-cv-01051-SOH Document 3           Filed 09/26/14 Page 12 of 41 PageID #: 614




       29. Defendant Quality Review, LLC, an Indiana limited liability company, is

 authorized to do business in the State of Arkansas and is engaged in the business of

for-profit custodial care of elderly and infirm nursing home residents in nursing facilities

 in several states across the United States.      Upon information and belief, at times

material to this action, Defendant Quality Review, LLC owned, operated , managed,

controlled and/or provided services for nursing facilities, including Pine Hills Health and

Rehabilitation Center during the residency of Willie Robinson, Sr. The registered agent

for service of process of Defendant Quality Review, · LLC is Corporation Service

Company, 251 East Ohio Street, Suite 500, Indianapolis, Indiana 46204.

       30. Defendant Arkansas SNF Operations Acquisition, LLC is a foreign limited

liability company that at times material to this lawsuit owned , operated , managed,

controlled and/or provided services to Pine Hills Health and Rehabilitation , LLC . The

causes of action made the basis of this suit arise out of such business conducted by

Defendant Arkansas SNF Operations Acquisition, LLC in the ownership, operation,

management, control and/or services provided to Pine Hills Health and Rehabilitation ,

LLC during the residency of Willie Robinson , Sr. The registered agent for service of

process of Defendant Arkansas SNF Operations Acquisition, LLC is HIQ Corporate

Services , Inc. , 3500 South DuPont Highway, Dover, Delaware 19901 .

      31 . Defendant SLC Professionals Holdings, LLC, a Delaware limited liability

company, is authorized to do business in the State of Arkansas and is engaged in the

business of for-profit custodial care of elderly and infirm nursing home residents in

nursing facilities in several states across the United States.      Upon information and

belief, at times material to this action , Defendant SLC Professionals Holdings, LLC

owned , operated , managed, controlled and/or provided services for nursing facilities,


                                            12
Case 1:14-cv-01051-SOH Document 3           Filed 09/26/14 Page 13 of 41 PageID #: 615




 including Pine Hills Health and Rehabilitation Center during the residency of Willie

 Robinson , Sr. The registered agent for service of process of Defendant SLC

 Professionals Holdings, LLC is Corporation Service Company, 2711 Centerville Road ,

 Suite 400, Wilmington, Delaware 19808.

         32. Defendant SLC Administrative Services of Arkansas, LLC is an Arkansas

limited liability company that at times material to this lawsuit, operated , managed ,

controlled, contracted with and/or provided services to Pine Hills Health and

Rehabilitation, LLC. The causes of action made the ·basis of this suit arise out of such

business conducted by Defendant SLC Administrative Services of Arkansas, LLC in the

operation , management, control and/or services provided to Pine Hills Health and

Rehabilitation, LLC during the residency of Willie Robinson , Sr. The registered agent for

service of process of Defendant SLC Administrative Services of Arkansas, LLC is

Corporation Service Company, 300 Spring Building , Suite 900 , Little Rock, Arkansas

72201.

         33 . Defendant John Dwyer, a resident of the state of Maryland , is a corporate

manager, officer, owner, and director of all Defendants. John Dwyer may be served at

1422A Clarkview Road, Baltimore , Maryland 21209

       34. Upon information and belief, Defendant Michael G. Hunter, a resident of the

State of Arkansas , was an Administrator of Pine Hills Health and Rehabilitation Center

at times during the residency of Willie Robinson , Sr. The causes of action made the

basis of this suit arise in part out of Defendant Michael G. Hunter's administration of the

facility during the residency of Willie Robinson , Sr. Defendant Michael G. Hunter may

be served at his last known address.




                                            13
Case 1:14-cv-01051-SOH Document 3             Filed 09/26/14 Page 14 of 41 PageID #: 616




          35. At all times material to this action , each of the Defendants herein individually

 owed duties, some of which were non-delegable, to the residents of Pine Hills Health

 and Rehabilitation Center, including to Willie Robinson , Sr., such duties being conferred

 by statute, existing at common law, and being voluntarily assumed by each such

 Defendant.

         36. At all times material hereto, the Defendants, through a joint venture, owned,

operated, managed and controlled Pine Hills Health and Rehabilitation Center, and are

individually and collectively engaged in the business of providing healthcare, medical

services, therapy, rehabilitation, skilled nursing care, and custodial care services to the

general public.

         37. Jurisdiction and venue are proper in this Court.

                                  FACTUAL ALLEGATIONS

         38 . Upon information and belief, Willie Robinson, Sr. was admitted as a resident

of Pine Hills Health and Rehabilitation Center (sometimes herein referred to as "the

facility") located at 900 Magnolia Road , Camden , Arkansas 71701 on April 26, 2010

and, except for hospitalizations, he remained a resident until October 7, 2011 . Willie

Robinson , Sr. died on October 7, 2011 .

         39. Defendants were aware of the medical condition of Willie Robinson, Sr. and

the care he required when they represented that they could adequately care for his

needs.

         40. Defendants each owed and failed to fulfill duties to Willie Robinson, Sr.,

including the duty to use reasonable care in the maintenance of safe and adequate

facilities and equipment; to select, train and retain only competent staff; to oversee and

supervise all persons who practiced nursing, medical and/or skilled healthcare within


                                              14
Case 1:14-cv-01051-SOH Document 3            Filed 09/26/14 Page 15 of 41 PageID #: 617




 the facility; to staff the facility personnel sufficient both in number and in training to

 provide the care and services required by the facility's residents ; to ensure that the

 facility's residents were treated with dignity and respect; to maintain sufficient funding ,

 staffing and resources for the facility so that its residents were provided with the care

 and services they required; to formulate, adopt, and enforce rules , policies and

procedures to ensure quality care and healthcare for all residents, and to update the

same as required by the applicable standards of care; to take adequate measures to

rectify known problems in the delivery of hygiene and custodial services as well as in

the delivery of medical, skilled nursing, rehabilitation and therapy care ; to warn

residents, their family and/or representatives of the Defendants' inability to provide

adequate care and services when Defendants knew or should have known of their

deficiencies in providing such care and services; to refuse admission to residents to

whom they knew or should have known they could not provide reasonable care and

services; to not admit more residents than to whom Defendants could safely provide

adequate care and services; to keep the facility's residents free from physical and

mental abuse and neglect; to provide a safe, decent and clean living environment for

the facility's residents; and to assist the residents in retaining and exercising all of the

constitutional, civil and legal rights to which they are entitled as citizens of the United

States and of the State of Arkansas.

       41 . Under state and federal law, the governing body of a nursing home is

composed of individuals or a group in whom the ultimate authority and legal

responsibility is vested for conduct of the nursing home. See Ark. Office of Long Term

Care R. and Regs. § 100. All long-term care facilities must have a governing body, or

designated persons functioning as a governing body, that is legally responsible for


                                             15
Case 1:14-cv-01051-SOH Document 3           Filed 09/26/14 Page 16 of 41 PageID #: 618




 establishing and implementing policies regarding the management and operation of the

 facility. The governing body has a legal duty to adopt effective patient care policies and

 administrative policies and by-laws governing the operation of the facility in accordance

with legal requirements of state and federal law. See Ark. Office of Long Term Care R.

and Regs. § 301 .1. Nursing Home Defendants were legally responsible for establishing

and implementing policies regarding management and operation of that facility, and in

whom the ultimate authority and legal responsibility was vested for the conduct of that

nursing home.

       42. Defendants are liable for all damages alleged in this matter in their capacity

as the owners, operators, licensees and/or managers of the facility during the residency

of Willie Robinson, Sr.

       43 . In an effort to ensure that Willie Robinson, Sr. and other residents whose

care was partially funded by the government were placed or kept at Pine Hills Health

and Rehabilitation Center, Defendants held themselves out to the Arkansas Department

of Human Services (DHS) and the public at large as being :

             a)      Skilled in the performance of nursing, rehabilitative and other
                     medical support services ;

             b)     Properly staffed, supervised and equipped to meet the total needs
                    of their nursing home residents ;

             c)     Able to specifically meet the total nursing home, medical and
                    physical therapy needs of Willie Robinson, Sr. and other residents
                    like his; and

             d)     Licensed by DHS and complying on a continual basis with all ru les,
                    regulations and standards established for nursing homes.

      44. In surveys and inspections conducted prior to and during the residency of

Willie Robinson , Sr. , the Arkansas Office of Long Term Care repeatedly cited Pine Hills

Health and Rehabilitation Center for regulatory deficiencies related to the care and

                                            16
 Case 1:14-cv-01051-SOH Document 3             Filed 09/26/14 Page 17 of 41 PageID #: 619




 treatment of the facility's residents.   Pine Hills Health and Rehabilitation Center was

 cited with the following deficiencies, among others, determining that the facility failed to:

                  a)   Provide care by qualified persons according to each resident's
                       written plan of care;

                  b)   Have a program that investigates, controls, and keeps infection
                       from spreading;

                 c)    Make sure that the nursing home area is free from accident
                       hazards and risks and provides supervision to prevent avoidable
                       accidents;

                 d)    Make sure that residents are safe from serious medication errors;

                 e)    Make sure menus meet the resident's nutritional needs;

                 f)    Properly care for residents needing special services;

                 g)    Give residents proper treatment to prevent new pressure sores or
                       heal existing pressure sores;

                 h)    Make sure that each resident who enters the nursing home without
                       a catheter is not given a catheter, and receive proper services to
                       prevent urinary tract infections and restore normal bladder function ;

                 i)    Give proper treatment to residents with feeding tubes to prevent
                       problems (such as aspiration pneumonia, diarrhea, vomiting,
                       dehydration, metabolic anomalies, nasal-pharyngeal ulcers) and
                       help restore eating skills, if possible.


        45. In surveys and inspections conducted during and immediately after the

residency of Willie Robinson, Sr., the Arkansas Office of Long Term Care repeatedly

cited Pine Hills Health and Rehabilitation Center for regulatory deficiencies related to

the care and treatment of the facility's residents. Pine Hills Health and Rehabilitation

Center was cited with the following deficiencies, among others, determining that the

facility failed to:

                a) Develop a care plan that meets all of a resident's needs, with
                   timetables and actions that can be measured;


                                              17
Case 1:14-cv-01051-SOH Document 3           Filed 09/26/14 Page 18 of 41 PageID #: 620




               b) Conduct initial and periodic assessments of each resident's functional
                  capacity;

              c) Assist those residents who need total help with eating/drinking ,
                 grooming an personal and oral hygiene;

              d) Provide necessary care and services to maintain the highest wellbeing
                 of each resident;

              e) Keep the rate of medication errors to less than 5%;

              f)   Keep each resident free from physical restraints, unless needed fir
                   medical treatment;

              g) Provide housekeeping and maintenance services;

              h) Write and use policies that forbid mistreatment, neglect and abuse of
                 residents and theft of residents' property;

              i)   Make sure the nursing home area is free from accident hazards and
                   risks and provides supervision to prevent avoidable accidents;

             j)    Make sure that a working call system is available in each resident's
                   room or bathroom and bathing area.


       46 . The extent to which the above citations directly included failures or

deficiencies in the care, services and treatment provided to Willie Robinson, Sr. remains

to be discovered. However, all of the above cited deficiencies establish that Defendants

were on notice and aware of problems with resident care, including failures and

deficiencies in care which caused the injuries alleged herein.

      47. Defendants failed to discharge their obligations of care to Willie Robinson,

Sr. with a conscious disregard for his rights and safety. At all times mentioned herein,

Nursing Home Defendants, through their corporate officers and administrators, had

knowledge of, ratified and/or otherwise authorized all of the acts and omissions that

caused the injuries suffered by Willie Robinson , Sr., as more fully set forth below.



                                           18
Case 1:14-cv-01051-SOH Document 3            Filed 09/26/14 Page 19 of 41 PageID #: 621




 Defendants knew that this facility could not provide the minimum standard of care to the

 weak and vulnerable residents of the facility. The severity of the recurrent negligence

 inflicted upon Willie Robinson, Sr. while under the care of the facility accelerated the

 deterioration of his health and physical condition and resulted in the physical and

 emotional injuries described below:

              a)      Multiple falls;

              b)     A urinary tract infection with E. coli;

              c)     An upper respiratory infection;

              d)     Thrush;

              e)     Right arm shunt infected with MRSA;

              f)     Surgical intervention for right arm shunt wound dehiscence;

              g)     Severe pain; and

              h)     Death .


       48.    The above-identified injuries, as well as the conduct specified below,

caused Willie Robinson, Sr. to suffer extreme pain and suffering, hospitalizations,

mental anguish, degradation, disability, disfigurement, emotional distress, and ultimately

his death.

       49. Defendants controlled the operation, planning, management and quality

control of the facility. The authority exercised over the nursing facility included , but was

not limited to, budgeting, marketing, human resources management, training, staffing,

creation and implementation of all policy and procedure manuals used by the facility,

federal and state reimbursement, quality care assessment and compliance, licensure




                                             19
Case 1:14-cv-01051-SOH Document 3             Filed 09/26/14 Page 20 of 41 PageID #: 622




 and certification, legal seNices, and financial, tax and accounting control through fiscal

 policies established by Defendants.

        50. Defendants operated and managed the facility so as to maximize profits by

 reducing staffing levels below that needed to provide adequate care to residents that

would comply with federal and state regulations governing skilled nursing facilities .

Thus, Defendants intentionally and/or with reckless disregard for the consequences of

their actions caused staffing levels at their facility to be set so that the personnel on duty

at any given time could not reasonably tend to the needs of their assigned residents.

Upon information and belief, Defendants knowingly established staffing levels that

created recklessly high nurse/resident ratios and disregarded patient acuity levels as

well as the minimal time required to perform essential functions .            The acts and

omissions of Defendants were motivated by a desire to increase profitability by reducing

expenditures for needed staff, training , supeNision and care to levels that would

predictably lead to severe injury. All of these acts of malfeasance directly caused injury

to Willie Robinson , Sr. and other residents of the facility and were known to Defendants.

       51. Defendants owed a duty to Willie Robinson , Sr. to maintain and adequately

staff their facility with sufficient numbers of qualified, trained staff to meet the needs of

the residents, including Willie Robinson , Sr., and are directly liable for the failure to

exercise reasonable care in hiring, supeNising , training and retaining sufficient numbers

of qualified nurses and other staff employees and caregivers during the residency of

Willie Robinson, Sr. Said failures placed the residents of the facility, including Willie

Robinson, Sr., at risk of harm, and as a result, Defendants are directly liable for injuries

suffered by Willie Robinson , Sr. as a result of these failures to exercise reasonable

care. Likewise, Defendants owed a duty to Willie Robinson , Sr. to have adequate and


                                             20
Case 1:14-cv-01051-SOH Document 3             Filed 09/26/14 Page 21 of 41 PageID #: 623




 available food , fluids , supplies and functioning equipment to meet the needs of the

residents, including Willie Robinson , Sr., and are directly liable for the failure to exercise

reasonable care in providing and maintaining adequate and available food , fluids ,

supplies and functioning equipment to meet the needs of the residents. Said failures

placed the residents of the facility, including Willie Robinson , Sr., at risk of harm, and as

a result, Defendants are directly liable for injuries suffered by Willie Robinson, Sr. as a

result of these failures to exercise reasonable care.

       52. Plaintiff alleges that during his residency at the facility, Willie Robinson , Sr.

was under the care, supervision and treatment of Defendants and that the injuries

complained of were proximately caused by the acts and omissions of Defendants.

       53 . Defendants are vicariously liable for the acts and omissions of all persons or

entities under their control , either directly or indirectly, including employees, agents,

consultants and independent contractors, whether in-house or outside entities,

individuals, or agencies causing or contributing to the injuries of Willie Robinson , Sr.

       54. In addition to all other claims and demands for damages set forth herein,

Plaintiff is asserting claims for ordinary negligence, custodial neglect, and corporate

negligence against the Defendants herein, as each of the entities and individuals named

as Defendants herein as directly and vicariously liable for their independent acts of

negligence, for their acts of general negligence, and for their acts of general corporate

negligence.




                                             21
Case 1:14-cv-01051-SOH Document 3             Filed 09/26/14 Page 22 of 41 PageID #: 624




           CAUSES OF ACTION AGAINST NURSING HOME DEFENDANTS

                                           COUNT ONE

                                        NEGLIGENCE

       55. Plaintiff incorporates all of the allegations contained in the preced ing

paragraphs as if fully set forth herein.

       56. Nursing Home Defendants owed a non-delegable duty to their residents ,

including Willie Robinson , Sr., to provide adequate and appropriate custodial care and

supervision,    which a reasonably careful         person   would   provide   under similar

circumstances.

       57. Nursing Home Defendants owed a non-delegable duty to their residents ,

including Willie Robinson , Sr., to exercise reasonable care in providing care and

services in a safe and beneficial manner.

       58 . Nursing Home Defendants owed a non-delegable duty to their residents ,

including Willie Robinson , Sr., to hire, train and supervise employees to deliver care and

services to residents in a safe and beneficial manner.

       59. Nursing Home Defendants breached these duties by failing to exercise

reasonable care and by failing to prevent the mistreatment, abuse and neglect of Willie

Robinson , Sr. The negligence of Nursing Home Defendants includes, but is not limited

to, the following acts and omissions:

               a)    Failure to provide sufficient nursing and other staff that was
                     properly qualified and trained ;

               b)    Failure to adequately, timely and appropriately educate and inform
                     the caregivers at the facility of the needs, level of assistance, and
                     prescribed care and treatment for Willie Robinson, Sr. ;




                                              22
Case 1:14-cv-01051-SOH Document 3       Filed 09/26/14 Page 23 of 41 PageID #: 625




           c)   Failure to have in place adequate guidelines , policies and
                procedures of the facility and to administer those policies through
                enforcement of any rules , regulations , by-laws or guidelines;

           d)   Failure to take reasonable steps to prevent, eliminate and correct
                deficiencies and problems in resident care at the facility;

           e)   Failure to ensure that Willie Robinson , Sr. attained and maintained
                his highest level of physical , mental, and psychosocial well-being ;

           f)   Failure to establish, publish and/or adhere to policies for nursing
                personnel concerning the care and treatment of residents with
                nursing, medical and psychosocial needs similar to those of Willie
                Robinson , Sr.;

          g)    Failure to ensure that Willie Robinson, Sr. received adequate and
                proper nutrition, fluids, supervision, and skin care;

          h)    Failure to provide and maintain an adequate and appropriate fluid
                maintenance program for Willie Robinson, Sr. to prevent
                dehydration and urinary tract infections;

          i)    Failure to ensure that Willie Robinson, Sr. received adequate
                assessment of his nutritional needs to prevent malnutrition and
                weight loss;

          j)    Failure to take necessary and reasonable custodial and hygiene
                measures to prevent the onset and progression of skin breakdown
                and sores during the residency;

          k)    Failure to provide care, treatment and medication in accordance
                with physician's orders;

          I)    Failure to provide Willie Robinson, Sr. with adequate sanitary care;

          m)    Failure to provide adequate hygiene and sanitary care to prevent
                infections;

          n)    Failure to adequately and appropriately monitor Willie Robinson , Sr.
                and recognize significant changes in his health status, and to timely
                notify his and his family of significant changes in his health status;




                                       23
Case 1:14-cv-01051-SOH Document 3       Filed 09/26/14 Page 24 of 41 PageID #: 626




          o)    Failure to monitor or increase the number of nursing personnel at
                the facility to ensure that Willie Robinson , Sr. received necessary
                supervision , timely and accurate care assessments , received
                proper treatment and diet, received timely custodial intervention
                due to a significant change in condition, and was protected from
                accidental injuries by the correct use of ordered and reasonable
                safety measures;

          p)    Failure to provide adequate superv1s1on to the nursing staff to
                ensure that Willie Robinson , Sr. received adequate and proper
                nutrition, fluids, therapeutic diet, sanitary care treatments to prevent
                infection, and sufficient nursing observation and examination of the
                responses, symptoms, and progress in the physical condition of
                Willie Robinson, Sr. ;

          q)    Failure to adequately screen, evaluate, and check references, test
                for competence and use ordinary care in selecting nursing
                personnel to work at the facility;

          r)    Failure to terminate employees at the facility assigned to Willie
                Robinson, Sr. who were known to be careless, incompetent and
                unwilling to comply with the policies and procedures of the facility
                and the rules and regulations promulgated by the Arkansas
                Department of Human Services and the Office of Long Term Care ;

          s)   Failure to assign nursing personnel at the facility duties consistent
               with their education and experience based on :

                1)    Willie Robinson, Sr.'s medical history and condition , nursing
                      and rehabilitative needs;

               2)     The characteristics of the resident population residing in the
                      area of the facility where Willie Robinson, Sr. was a resident;
                      and

               3)     The nursing skills needed to provide care to such resident
                      population;

         t)    Failure by the members of the governing body of the facility to
               discharge their legal and lawful obligation to ensure that the rules
               and regulations designed to protect the health and safety of
               residents , such as Willie Robinson, Sr. , as promulgated by the
               Arkansas Department of Human Services and the Arkansas Office
               of Long Term Care, were consistently complied with on an ongoing
               basis; and to ensure appropriate corrective measures were
               implemented to correct problems concerning inadequate resident
               care;



                                       24
 Case 1:14-cv-01051-SOH Document 3              Filed 09/26/14 Page 25 of 41 PageID #: 627




               u)    Failure by members of the governing body of the facility to
                     discharge their legal and lawful obligation to ensure compliance
                     with the facility's resident care policies;

              v)     Failure to adopt adequate guidelines, polices , and procedures of
                     the facility for documenting, maintaining files, investigating and
                     responding to any complaint regarding the quality of resident care
                     or misconduct by employees at the facility, regardless of whether
                     such complaint derived from a resident of the facility, an employee
                     of the facility or any interested person ;

              w)     Failure to document and maintain medical records on Willie
                     Robinson, Sr. in accordance with accepted professional standards
                     and practices that are complete, accurately documented, readily
                     accessible and systematically organized with respect to diagnosis,
                     treatment and assessment and establishment of appropriate care
                     plans of care and treatment;

              x)     Failure to properly in-service and orient employees to pertinent
                     patient care needs to maintain the safety of residents ;

              y)     Failure to ensure that services provided or arranged by the facility
                     were provided by qualified persons in accordance with Willie
                     Robinson , Sr.'s written plan of care and failure to ensure that the
                     physician's plan of care was implemented;

              z)     Failure to fulfill the duties set forth in   ~40,   above; and

              aa)    Failure to provide a safe environment.

        60. A reasonably careful nursing home operating under similar circumstances

would foresee that the failure to provide the ordinary care listed above would result in

devastating injuries to Willie Robinson, Sr.

        61. Nursing Home Defendants further breached their duties of care to Willie

Robinson , Sr. by violating certain laws and regulations in force in the State of Arkansas

at the time of the occurrences discussed herein including, but not limited to, the

following :




                                               25
Case 1:14-cv-01051-SOH Document 3           Filed 09/26/14 Page 26 of 41 PageID #: 628




              a)     By failing to comply with rules and regulations promulgated by the
                     Arkansas Department of Human Services, Division of Social
                     Services, Office of Long Term Care, pursuant to authority expressly
                     conferred by Act 28 of 1979 (Ark. Code Ann.§ 20-10-202 , et seq.)
                     and published in the Long Term Care (LTC) Provider Manual on
                     April 8, 1984, and the supplements thereto, and federal minimum
                     standards applicable to the facility;

              b)     By failing to provide the necessary care and services to attain or
                     maintain the highest practicable, physical , mental and psychosocial
                     well-being of Willie Robinson , Sr., in accordance with the
                     comprehensive assessment and plan of care;

              c)     By failing to ensure a nursing care plan based on Willie Robinson ,
                     Sr. 's problems and needs was established that contained
                     measurable objectives and timetables to meet his medical, nursing,
                     and mental and psychosocial needs as identified in his
                     comprehensive assessment;

              d)    By failing to review and revise Willie Robinson , Sr.'s nursing care
                    plan when his needs changed ;

              e)    By failing to treat Willie Robinson, Sr. courteously, fairly and with
                    the fullest measure of dignity;

             f)     By failing to provide sufficient nursing staff and nursing personnel to
                    ensure that Willie Robinson, Sr. attained and maintained his
                    highest practicable physical, mental and psychosocial well-being ;

             g)     By failing to notify the family and physician of Willie Robinson , Sr.
                    of a need to alter his treatment significantly.

             h)     By failing to provide a safe environment; and

             i)     By failing to administer the facility in a manner that enabled it to use
                    its resources effectively and efficiently to attain or maintain the
                    highest practicable physical, mental and psychosocial well-being of
                    each resident.

      62 . A reasonably prudent nursing home, operating under the same or similar

conditions, would not have failed to provide the care listed above. Each of the foregoing

acts of negligence on the part of Nursing Home Defendants was a proximate cause of

Willie Robinson , Sr.'s injuries as more specifically described herein , which were all

foreseeable and caused his ultimately death . Willie Robinson , Sr. suffered personal


                                           26
Case 1:14-cv-01051-SOH Document 3             Filed 09/26/14 Page 27 of 41 PageID #: 629




 injuries, including extreme pam and suffering, hospitalizations, mental anguish ,

 degradation, disability, disfigurement, emotional distress, and loss of personal dignity,

 which caused his family to suffer more than normal grief upon his death. Plaintiff prays

 for compensatory damages against Defendants for the wrongful death of Willie

 Robinson, Sr., including the grief suffered as well as the expenses of funeral and other

 related expenses.

       63. As a direct and proximate result of such grossly negligent, willful , wanton,

reckless, malicious and/or intentional conduct, Plaintiff asserts a claim for judgment for

all compensatory and punitive damages against Nursing Home Defendants including,

but not limited to, medical expenses, hospitalizations, extreme pain and suffering,

mental anguish, degradation, disability, disfigurement, emotional distress, and loss of

personal dignity, loss of life and related expenses, in an amount exceeding that required

by this Court and by federal court jurisdiction in diversity of citizenship cases, to be

determined by the jury, plus costs and all other relief to which Plaintiff is entitled by law.

                                        COUNT TWO

             NEGLIGENCE AS DEFINED BY THE ARKANSAS MEDICAL
            MALPRACTICE ACT, ARK. CODE ANN.§§ 16-114-201 etseq.


       64. Plaintiff re-alleges and incorporates all of the allegations contained in the

preceding paragraphs as if fully set forth herein.

       65. Nursing Home Defendants are either medical care providers as defined by

Ark. Code Ann. § 16-114-201 (2) and/or are liable for medical care providers as defined

by Ark. Code Ann.§ 16-114-201(2) .

       66 . Nursing Home Defendants owed a non-delegable duty to _residents , including

Willie Robinson , Sr., to use reasonable care in treating their residents with the degree of


                                              27
Case 1:14-cv-01051-SOH Document 3              Filed 09/26/14 Page 28 of 41 PageID #: 630




skill and learning ordinarily possessed and used by nursing home facilities and affiliated

health care providers in the same or similar locality.

       67. Nursing Home Defendants owed a non-delegable duty to assist all residents ,

including Willie Robinson , Sr., in attaining and maintaining the highest level of physical,

mental and psychosocial well-being .

       68. Nursing Home Defendants failed to meet the applicable standards of care

and violated their duty of care to Willie Robinson, Sr. through mistreatment, abuse and

neglect.   Nursing Home Defendants failed to adequately supervise nurses and aides

and failed to hire sufficient nurses and aides. As such , the nurses and aides were

unable to provide Willie Robinson, Sr. the requisite care, and as a result, acts of

professional negligence occurred as set forth in this paragraph .               The medical

negligence of Nursing Home Defendants includes, but is not limited to, the following

acts and omissions :

              a)       Failure to ensure that Willie Robinson , Sr. received the following :

                       1)    timely and accurate care assessments;

                       2)    prescribed treatment, medication and diet;

                       3)    necessary supervision; and

                       4)    timely nursing and medical intervention due to a significant
                             change in condition ;

             b)        Failure to provide sufficient numbers of qualified personnel ,
                       including nurses, licensed practical nurses, certified nurse
                       assistants and medication aides to meet the total needs of Willie
                       Robinson, Sr. throughout his residency;

             c)        Failure to provide, implement, and ensure adequate nursing care
                       plan revisions and modifications as the needs of Willie Robinson,
                       Sr. changed;




                                              28
 Case 1:14-cv-01051-SOH Document 3           Filed 09/26/14 Page 29 of 41 PageID #: 631




               d)    Failure to provide, implement and ensure that an adequate nursing
                     care plan for Willie Robinson, Sr. was followed by nursing
                     personnel ;

              e)     Failure to provide care, treatment, and medication in accordance
                     with physician's orders;

              f)     Failure to provide adequate care and treatment to Willie Robinson ,
                     Sr. in order to prevent infections;

              g)     Failure to ensure that Willie Robinson, Sr. was assessed in order to
                     receive adequate and proper nutrition , fluids , supervision,
                     therapeutic diet, and skin care;

              h)     Failure to assess the risk and prevent, treat or heal the
                     development or worsening of skin breakdown ;

              i)     Failure to ensure that Willie Robinson, Sr. received sufficient
                     amounts of fluids to prevent dehydration throughout his residency
                     at the facility;

             j)     Failure to ensure that Willie Robinson , Sr. received adequate
                    nutrition to prevent malnutrition and weight loss;

              k)    Failure to provide proper treatment, assessment and monitoring of
                    Willie Robinson, Sr. in order to identify signs and symptoms of pain ,
                    and to appropriately treat and prevent his pain ;

             I)     Failure to adequately and appropriately monitor Willie Robinson, Sr.
                    and recognize significant changes in his health status, and to timely
                    notify his physician of significant changes in his health status; and ,

             m)     Failure to ensure that Willie Robinson , Sr. was not deprived of the
                    services necessary to maintain his health and welfare.

      69. A reasonably prudent nursing home, operating under the same or similar

conditions, would not have failed to provide the care listed in the above Complaint.

Each of the foregoing acts of negligence on the part of Nursing Home Defendants was a

proximate cause of Willie Robinson, Sr.'s injuries, which were all foreseeable . Willie

Robinson, Sr. suffered personal injury, including extreme pain and suffering , mental

anguish , disfigurement, disability, degradation, emotional distress, and loss of personal



                                           29
 Case 1:14-cv-01051-SOH Document 3               Filed 09/26/14 Page 30 of 41 PageID #: 632




 dignity which caused his family to suffer more than normal grief upon his death. Plaintiff

 prays for compensatory damages against Defendants for the wrongful death of Willie

 Robinson, Sr., including the grief suffered as well as the expenses of funeral and other

 related costs.

        70. Nursing Home Defendants were negligent and reckless in breaching the

duties owed to Willie Robinson , Sr. under the Medical Malpractice Act for the reasons

specifically enumerated in this Complaint.

       71. As a direct and proximate result of such grossly negligent, willful, wanton,

reckless, malicious, and/or intentional conduct, Willie Robinson, Sr. suffered injuries as

described herein.      Plaintiff asserts a claim for judgment for all compensatory and

punitive damages against Nursing Home Defendants, including , but not limited to,

medical expenses, extreme pain and suffering , mental anguish , disfigurement, disability,

degradation, loss of personal dignity, and emotional distress, loss of life and related

expenses, in an amount to be determined by the jury and exceeding that required by

this Court and by federal court jurisdiction in diversity of citizenship cases, plus costs

and all other relief to which Plaintiff is entitled by law.

                                        COUNT THREE

  LIABILITY OF THE LICENSEES OF Pine Hills Health and Rehabilitation Center
    FOR VIOLATIONS OF THE LONG-TERM CARE FACILITY RESIDENTS ACT,
                   ARK. CODE ANN. §§ 20-10-1201 et seq.


       72. Plaintiff incorporates all of the allegations contained in the preceding

paragraphs as if fully set forth herein.

       73. Among the Nursing Home Defendants, the licensees of Pine Hills Health and

Rehabilitation Center had statutorily-mandated duties to provide Willie Robinson, Sr. his



                                               30
Case 1:14-cv-01051-SOH Document 3             Filed 09/26/14 Page 31 of 41 PageID #: 633




 basic, nursing home resident's rights as set forth in the Protection of Long-Term Care

 Facility Residents Act, Ark. Code Ann . §§ 20-10-1201 et seq.

       74. The Protection of Long-Term Care Facility Residents Act mandates the

 development, establishment, and enforcement of basic standards for the health, care,

 and treatment of persons in long-term care facilities ; and mandates that the

maintenance and operation of long-term care facilities will ensure safe , adequate, and

appropriate care, treatment, and health of residents, like Willie Robinson , Sr.

       75. The Protection of Long-Term Care Facility Residents Act mandates every

licensed facility shall comply with all applicable standards and rules of the Office of

Long-Term Care of the Arkansas Department of Human Services.

       76. The statutory duties imposed upon the facility licensees to prevent

deprivation or infringement of the resident's rights of Willie Robinson, Sr. were

non-delegable. Thus, among the Nursing Home Defendants, the licensees are directly

liable to Plaintiff for any deprivation and infringement of Willie Robinson , Sr.'s resident's

rights occurring as a result of their own action or inaction, and as a result of the action

or inaction of any other person or entity, including employees, agents, consultants,

independent contractors and affiliated entities , whether in-house or outside entities,

individuals, agencies or pools, as well as any deprivation and infringement of Willie

Robinson, Sr.'s resident's rights caused by Nursing Home Defendants' policies,

procedures, whether written or unwritten , and common practices.

      77. Any person or entity acting as an employee or agent of Pine Hills Health and

Rehabilitation Center assumed and undertook to perform the non-delegable and

statutorily-mandated duties of the licensees to provide Willie Robinson , Sr. nursing




                                             31
Case 1:14-cv-01051-SOH Document 3             Filed 09/26/14 Page 32 of 41 PageID #: 634




home resident's rights as set forth in Ark. Code Ann. §§ 20-10-1201 et seq. in the

operation and management of Pine Hills Health and Rehabilitation Center.

       78. Notwithstanding the responsibility of the licensees to protect and provide for

these statutorily-mandated , nursing home resident's rights , Nursing Home Defendants

infringed upon, and Willie Robinson, Sr. was deprived of, rights mandated by Ark. Code

Ann . §§ 20-10-1201 et seq. including , but not limited to, the following:

              a)     The right to receive adequate and appropriate health care and
                     protective and support services, including social services, mental
                     health services, if available, planned recreational activities, and
                     therapeutic and rehabilitative services consistent with the resident
                     care plan for Willie Robinson , Sr., with established and recognized
                     practice standards within the community, and with rules as adopted
                     by federal and state agencies , such rights include:

                     1)     The right to receive adequate and appropriate custodial
                            service, defined as care for Willie Robinson , Sr. which
                            entailed observation of diet and sleeping habits and
                            maintenance of a watchfulness over his general health,
                            safety, and well-being ; and

                     2)     The right to receive adequate and appropriate residential
                            care plans , defined as a written plan developed, maintained,
                            and reviewed not less than quarterly by a registered nurse,
                            with participation from other facility staff and Willie Robinson ,
                            Sr. or his designee or legal representative , which included a
                            comprehensive assessment of the needs of Willie Robinson,
                            Sr. , a listing of services provided within or outside the facility
                            to meet those needs, and an explanation of service goals;

             b)      The right to regular, consultative, and emergency services of
                     physicians;

             c)      The right to appropriate observation , assessment, nursing
                     diagnosis, planning , intervention, and evaluation of care by nursing
                     staff;

             d)      The right to access to dental and other health-related services,
                     recreational services, rehabilitative services, and social work
                     services appropriate to the needs and conditions of Willie
                     Robinson , Sr., and not directly furnished by the licensees;



                                             32
Case 1:14-cv-01051-SOH Document 3          Filed 09/26/14 Page 33 of 41 PageID #: 635




              e)    The right to a wholesome and nourishing diet sufficient to meet
                    generally accepted standards of proper nutrition, guided by
                    standards recommended by nationally recognized professional
                    groups and associations with knowledge of dietetics, and such
                    therapeutic diets as may be prescribed by attending physicians;

             f)     The right to a facility with its premises and equipment, and conduct
                    of its operations maintained in a safe and sanitary manner;

             g)    The right to be free from mental and physical abuse, and from
                   chemical restraints ;

             h)    The right of Willie Robinson , Sr. to have privacy of his body in
                   treatment and in caring for his personal needs;

             i)    The right to prompt efforts by the facility to resolve resident
                   grievances, including grievances with respect to resident care and
                   the behavior of other residents;

             j)    The right to participate in social, religious, and community activities;

             k)    The right to the obligation of the facility to keep full records of the
                   admissions and discharges of Willie Robinson, Sr., and his medical
                   and general health status, including :

                   1)     medical records ;

                   2)     personal and social history;

                   3)     individual resident care plans, including, but not limited to,
                          prescribed services, service frequency and duration, and
                          service goals; and

                   4)     making it a criminal offense to fraudulently alter, deface, or
                          falsify any medical or other long-term care facility record, or
                          cause or procure any of these offenses to be comm itted ; and

            I)     The right to be treated courteously, fairly, and with the fullest
                   measure of dignity.

      79. The aforementioned infringement and deprivation of the rights of Willie

Robinson, Sr. were the result of Nursing Home Defendants failing to do that which a

reasonably careful person would do under similar circumstances.




                                           33
 Case 1:14-cv-01051-SOH Document 3            Filed 09/26/14 Page 34 of 41 PageID #: 636




        80. As a result of the aforementioned violations, the Plaintiff, pursuant to Ark.

 Code Ann . § 20-10-1209(a)(4), is entitled to recover actual damages against the

 licensees of the facility. The Plaintiff asserts a claim for judgment for actual damages,

 including, but not limited to, medical expenses, hospitalizations, extreme pain and

 suffering, mental anguish , degradation , disability, disfigurement, emotional distress, and

loss of personal dignity, loss of life and related expenses, in an amount to be

determined by the jury and exceeding that required for this Court and federal court

jurisdiction in diversity of citizenship cases, plus costs and all other relief to whkh

Plaintiff is entitled by law.

       81. The infringement or deprivation of the resident's rights of Willie Robinson , Sr.

by Defendants was willful, wanton , gross, flagrant, reckless , or consciously indifferent.

Pursuant to Ark. Code Ann. § 20-10-1209(c), Plaintiff is entitled to recover punitive

damages against the licensees of the facility .

           CAUSES OF ACTION AGAINST ADMINISTRATOR DEFENDANT

                                FACTUAL ALLEGATIONS

       82. Plaintiff re-alleges and incorporates the allegations contained in the

preceding paragraphs as if fully set forth herein .

       83. Upon information and belief, Michael G. Hunter was an Administrator at Pine

Hills Health and Rehabilitation Center during the residency of Willie Robinson , Sr.

       84. As administrator of the facility, Michael G. Hunter was responsible for

ensuring that the facility complied with all state and federal regu lations related to

nursing facilities . Administrator Defendant had a duty to administrate the facility in a

manner that enabled it to use resources effectively and efficiently to attain or maintain

the highest practicable physical, mental and psychological well-being of each resident.


                                             34
Case 1:14-cv-01051-SOH Document 3             Filed 09/26/14 Page 35 of 41 PageID #: 637




 The nursing facility, under the leadership of its administrator, is also required to operate

and provide services in compliance with all applicable federal , state and local laws,

regulations and codes and with accepted professional standards and principles that

apply to professionals providing services in such facilities . Administrator Defendant

breached his duties of care to Willie Robinson, Sr.

                                           COUNT ONE

                                       NEGLIGENCE

       85. Plaintiff re-alleges and incorporates the allegations in the preceding

paragraphs as if fully set forth herein.

       86. Administrator Defendant owed duties to the residents, including Willie

Robinson, Sr., to provide services as a reasonable administrator within accepted

standards for a nursing home administrator.

       87. Administrator Defendant breached the duties owed to the residents of the

facility, including Willie Robinson , Sr., by failing to supervise nurses and nurses' aides

and failing to hire sufficient nurses and nurses' aides , and as such, the nurses and

nurses' aides were unable to provide Willie Robinson, Sr. the care he required . The

negligence of the Administrator Defendant includes, but is not limited to, the following

acts and omissions:

              a)      Failure to adequately assess, evaluate, and supervise nursing
                      personnel to ensure that Willie Robinson, Sr. received appropriate
                      nurs1ng care;

              b)      Failure to adequately screen , evaluate, and test for competence in
                      selecting personnel to work at the facility;

             c)       Failure to ensure that Willie Robinson, Sr. attained and maintained
                      his highest level of physical , mental , and psychosocial well-being ;

             d)       Failure to ensure that Willie Robinson , Sr. was assessed monitored


                                              35
Case 1:14-cv-01051-SOH Document 3
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                                              Filed 09/26/14 Page 36 of 41 PageID #: 638




                  and treated for the signs and symptoms of infections ;

            e)   Failure to ensure that staff provided Willie Robinson , Sr. with
                 sufficient amounts of fluids to prevent dehydration ;

           f)    Failure to ensure that Willie Robinson, Sr. received adequate
                 nutrition to prevent malnutrition and weight loss ;

           g)    Failure to ensure that Willie Robinson , Sr. received care , treatment,
                 and medication as prescribed or in accordance with physician 's
                 orders;

           h)    Failure to ensure that Willie Robinson , Sr. was treated with the
                 dignity and respect that all nursing home residents are entitled to
                 receive;

           i)    Failure to provide a safe environment for Willie Robinson, Sr.;

           j)    Failure to take reasonable steps to prevent, eliminate, and correct
                 deficiencies and problems in resident care at the facil ity;

           k)    Failure to discipline or terminate employees at the facility assigned
                 to Willie Robinson , Sr. that were known to be careless ,
                 incompetent, and unwilling to comply with the policy and
                 procedures of the facility and the rules and regulations promulgated
                 by the Office of Long Term Care;

           I)    Failure to adopt adequate guidelines, policies, and procedures for:

                 1)           investigating the relevant facts, underlying deficiencies, or
                              licensure violations or penalties found to exist at the facility
                              by the Office of Long Term Care or any other authority;

                 2)           determining the cause of any such deficiencies, violations ,
                              or penalties;

                 3)           establishing the method and means for correcting
                              deficiencies or licensure violations or penalties found to exist
                              at the facility;

                 4)           determining whether the facility had sufficient numbers of
                              personnel to meet the total needs of Willie Robinson, Sr.;
                              and




                                              36
Case 1:14-cv-01051-SOH Document 3       Filed 09/26/14 Page 37 of 41 PageID #: 639




                 5)    documenting,      maintaining       files,   investigating,   and
                       responding to any complaint regarding the quality of resident
                       care, or misconduct by employees at the facility, regardless
                       of whether such complaint derived from a resident of said
                       facility, an employee of the facility, or any interested person;

           m)   Failure to ensure that Willie Robinson , Sr. was provided with basic
                and necessary care and supervision ;

           n)   Failure to adequately hire, train, supervise and retain a sufficient
                amount of competent and qualified registered nurses, licensed
                vocational nurses, nurse assistants and other personnel in said
                facility to assure that Willie Robinson, Sr. received care, treatment,
                and services in accordance with State and Federal law;

          o)    Failure to assign nursing personnel at the facility duties consistent
                with their education and experience based on :

                1)     Willie Robinson, Sr.'s medical history and condition, and his
                       nursing and rehabilitative needs;

                2)     The characteristics of the resident population residing in the
                       area of the facility where Willie Robinson , Sr. was a resident;
                       and

                3)     Nursing skills needed to provide care to such resident
                       population ;

          p)    Failure to provide sufficient numbers of qualified personnel , to
                ensure that Willie Robinson, Sr. was provided with a safe
                environment, received timely and accurate care assessments,
                received prescribed treatment, medication and diet, and was
                protected from abuse, mistreatment and accidental injuries by the
                correct use of reasonable safety measures;

          q)    Failure to properly in-service and orient employees to pertinent
                resident care needs to maintain the safety of residents ;

          r)    Failure to protect Willie Robinson, Sr. from abuse and neglect;

          s)    Failure to provide adequate supervision to the nursing staff to
                ensure that Willie Robinson, Sr. received adequate and proper
                care;

         t)     Failure to provide nursing personnel sufficient in number to provide
                proper treatment and assessment to protect the skin integrity of
                residents, including Willie Robinson, Sr. ;


                                       37
 Case 1:14-cv-01051-SOH Document 3               Filed 09/26/14 Page 38 of 41 PageID #: 640




                u)        Failure to document and maintain all records on Willie Robinson ,
                         Sr. in accordance with accepted professional standards and
                         practice that were complete, accurately documented , readily
                         accessible, and systematically organized with respect to his
                         diagnosis, treatment, and appropriate care plans of care and
                         treatment;

                v)       Failure to administer the facility in a manner that enabled it to use
                         its resources effectively and efficiently to attain or maintain the
                         highest practicable physical, mental and psychosocial well-being of
                         Willie Robinson , Sr.; and

                w)      Failure to comply with rules and regulations promulgated by the
                        Arkansas Department of Human Services, Division of Social
                        Services, Office of Long Term Care, pursuant to authority expressly
                        conferred by Act 28 of 1979 (Ark. Code Ann . § 20-10-202 , et seq.)
                        and published in the Long Term Care (LTC) Provider Manual on
                        April 8, 1984, and the supplements thereto, and federal minimum
                        standards imposed by the United States Department of Health and
                        Human Services.

        88. A reasonably careful nursing home administrator would have foreseen that

the failure to provide the ordinary care listed above would result in devastating injuries

to W illie Robinson , Sr.

       89. As a direct and proximate result of Administrator Defendant's negligent

conduct, Plaintiff asserts a claim for judgment for all compensatory damages against

Administrator        Defendant   including ,   but   not   limited   to ,   medical   expenses,

hospitalizations, extreme pain and suffering, mental anguish , degradation, disability,

disfigurement, emotional distress, and loss of personal dignity, loss of life and related

expenses, in an amount exceeding that required by federal court jurisdiction in diversity

of citizenship cases to be determined by the jury, plus costs and all other relief to which

Plaintiff is entitled by law.




                                                38
Case 1:14-cv-01051-SOH Document 3                  Filed 09/26/14 Page 39 of 41 PageID #: 641




                       CAUSES OF ACTION AGAINST ALL DEFENDANTS

                                              DAMAGES

         90. Plaintiff re-alleges and incorporates the allegations in the preceding

paragraphs as if fully set forth herein.

         91. As a direct and proximate result of the negligence of Defendants as set out

above, Willie Robinson, Sr. suffered injuries including, but not limited to, those listed

herein . As a result, Willie Robinson, Sr. incurred significant medical expenses, suffered

extreme pain and suffering , hospitalizations, emotional           d~stress ,   degradation, mental

anguish, disfigurement, disability, and unnecessary loss of personal dignity, loss of life

and related expenses.

        92. Plaintiff seeks punitive and compensatory damages against Defendants in

an amount to be determined by the jury, plus costs and all other relief to which Plaintiff

is entitled .

                                    DEMAND FOR JURY TRIAL

        93 . Plaintiff demands a trial by jury.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, Eddie B. Robinson, as Administrator for The Estate of

Willie Robinson, Sr., deceased, prays for judgment against Defendants as follows:

         1. For damages in an amount adequate to compensate Plaintiff for the injuries

                and damages sustained .

        2.      For all general and special damages caused by the alleged conduct of

Defendants.

        3.      For costs of litigating this case, including attorney's fees.




                                                  39
Case 1:14-cv-01051-SOH Document 3                 Filed 09/26/14 Page 40 of 41 PageID #: 642




       4.   For punitive damages sufficient to punish Defendants for their egregious and

malicious misconduct in reckless disregard and                 conscious indifference to the

consequences to Willie Robinson , Sr., and to deter Defendants and others from

repeating such atrocities .

       5.   For all other relief to which Plaintiff is entitled.



                                              Respectfully submitted,

                                             Eddie B. Robinson , as Administrator for The
                                             Estate of Willie Robinson , Sr., deceased,



                                      By:
                                                      . Mu ray, Ill (AR2013033)
                                                     nd cHugh, P.A.
                                             1601 C        Street, Suite 1300
                                             Philadelphia , PA 19102
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                                             Attorneys for Plaintiff




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Case 1:14-cv-01051-SOH Document 3            Filed 09/26/14 Page 41 of 41 PageID #: 643
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              IN THE CIRCUIT COURT OF OUACI-Irf~~~~r~~~~RKANSAS
                                PROBATE D~'{l~c

    IN THE MATTER OF THE ESTATE OF
    WILLIE ROBINSON, SR, DECEASED                                   No. PR-2011-       \51
                                    LETTERS OF ADMINISTRATION

    BE IT KNOWN:

           TI1at Eddie B. Robinson whose address is 2316 Pebble Beach Drive, Kokomo,

    Indiana 46902, having been duly appointed administrator of the estate of Willie

    Robinson, Sr., deceased, who died on October 7, 2011, and having qualified as such

     administrator, is hereby authorized to act as such administrator, for and on behalf of the

     estate and to take possession of the property thereof as authorized by law.

           ISSUED the     r; l:lc   day   of~, 20 II .
                                                        BRITT WILLIFORD, CLERK


                                                    By:&-~                                   , D.C.
